
673 S.E.2d 358 (2004)
STATE of North Carolina
v.
Donald WESTMORELAND.
No. 132P02-2.
Supreme Court of North Carolina.
June 24, 2004.
Donald Westmoreland, Pro Se.
David L. Elliott, Assistant Attorney General, for State.
Prior report: 158 N.C.App. 315, 580 S.E.2d 432.

ORDER
Upon consideration of the petition filed by Defendant on the 15th day of March 2004 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals (Filed as Notice of Appeal Based on a Constitutional Question), the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th Day of June 2004."
Upon consideration of the petition filed by Defendant on the 15th day of March 2004 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals (Filed as Petition for Discretionary Review), the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of June 2004."
